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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                          LUBBOCK DIVISION

 STATE OF TEXAS; AMERICAN                §
 ASSOCIATION OF PRO-LIFE                 §
 OBSTETRICIANS &                         §
 GYNECOLOGISTS; and                      §
 CHRISTIAN MEDICAL &                     §
 DENTAL ASSOCIATIONS,                    §
     Plaintiffs,                         §
                                         §      CIVIL ACTION NO. 5:22-CV-00185
 v.                                      §
                                         §
 XAVIER BECERRA, in his official         §
 capacity as Secretary of Health and     §
 Human Services; UNITED STATES           §
 DEPARTMENT OF HEALTH AND                §
 HUMAN SERVICES; CENTERS                 §
 FOR MEDICARE & MEDICAID                 §
 SERVICES (CMS); KAREN L.                §
 TRITZ, in her official capacity as      §
 Director of the Survey and Operations   §
 Group for CMS; DAVID R.                 §
 WRIGHT, in his official capacity as     §
 Director of the Quality Safety and      §
 Oversight Group for CMS,                §
       Defendants.                       §
                                         §


                            JOINT STATUS REPORT



      In accordance with this Court’s Order [Dkt. #84], the Parties submit this Joint

Status Report regarding a proposed scheduling order.

      Plaintiffs’ view:

      The parties have conferred on various matters since the Court’s order,

including Defendants’ motion to extend the answer deadline, motion for clarification,



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and options for scheduling the case. Plaintiffs’ view is that the motion for clarification

should not delay the schedule in this case for the reasons the Court already

articulated and that Plaintiffs will discuss in their response brief. Plaintiffs further

propose that the preliminary injunction be converted to final judgment while

reserving Defendants’ right to appeal.

      If Defendants object to that approach, Plaintiffs propose that the Court proceed

to judgment on the merits on a schedule that would involve Defendants filing the

administrative record by the end of September, the parties stipulating to facts by mid-

October, the parties filing motions for summary judgment in early November, and

the parties completing briefing for those motions by mid-December, with oral

argument scheduled in January. If parties wish to submit additional evidence outside

of a stipulation, the Court could hold a bench trial at that time to take evidence and

hear argument.

      Because Defendants asked Plaintiffs for more time to meet and confer over the

possible schedule, Plaintiffs do not oppose Defendants’ suggestion that the Court set

a deadline for the parties to submit another joint status report on September 16, 2022.

      Defendants’ view:

      Defendants intend to file a notice of appeal in this matter, and believe that the

Court’s ruling on their motion for clarification would inform the scope of further

proceedings, whether in this Court or on appeal. Accordingly, Defendants respectfully

submit that it would be most sensible to defer consideration of scheduling matters

until the Court resolves the clarification motion, and suggest that the parties meet



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and confer promptly thereafter and file a status report setting forth their proposals

for any further proceedings within 10 days of the Court’s ruling. Plaintiffs would not

be prejudiced by this short pause to ensure that further proceedings unfold in an

orderly fashion.

      Defendants’ counsel did not receive Plaintiffs’ scheduling proposal—including

the proposal to convert the Court’s preliminary injunction to final judgment—until

the afternoon of Thursday, September 8, 2022, and thus have not had a sufficient

opportunity to weigh that proposal or formulate a final position on it. But Defendants

are actively considering Plaintiffs’ proposal to convert the preliminary injunction to

a final judgment, and anticipate being able to take a position on it promptly after

Defendants’ clarification motion is resolved and the scope of the Court’s preliminary

injunction is more clearly understood.

      In the event the Court nevertheless determines to schedule further

proceedings at this time, Defendants agree that the next steps would be the

submission of the administrative record and summary judgment briefing. In a typical

challenge to agency action, “the entire case on review is a question of law, and only a

question of law,” Marshall Cty. Health Care Auth. v. Shalala, 988 F.2d 1221, 1226

(D.C. Cir. 1993), so Defendants believe that the questions whether a joint stipulation

of facts or a bench trial would be appropriate would benefit from further discussion

among the parties.     Defendants also believe that cross-motions for summary

judgment, with Plaintiffs filing first, would be the most efficient course for further

briefing—but, again, believe that such issues, including any particular filing dates,



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would benefit from further discussion among the parties.           In the meantime,

Defendants would reserve the right to make evidentiary objections to Plaintiffs’

submissions.

      For these reasons, Defendants respectfully submit that the Court should defer

consideration of scheduling matters until their clarification motion is resolved, and

direct the parties to submit a joint status report with their scheduling proposals 10

days thereafter. At a minimum, however, the Court should permit the parties to

confer for an additional week to attempt to reach agreement on—or at least narrow

any areas of dispute about—these matters, and to file a further joint status report

with their proposals on September 16, 2022.



                                       Respectfully submitted.

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